
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks $180.00 for items of personal property that were entrusted to respondent’s employees when he was taken to South Central Regional Jail, a facility of the respondent. At the time his mother appeared to pick up his personal belongings, she discovered the items were missing. Thus far, respondent’s employees have been unable to produce claimant’s personal property.
In its Answer, respondent admits the validity of the claim and that the amount is fair and reasonable. The Com! is aware that respondent does not have a fiscal method for paying claims of this nature; therefore, the claim has been submitted to this Court for determination.
The Court has taken the position in prior claims that a bailment situation has been created if property of an inmate which is taken from that inmate, remains in the custody of respondent, and is not produced for return to the inmate at a later date.
In view of the foregoing, the Court is of the opinion to and does make an award to claimant in the amount of $180.00.
Award of $ 180.00.
